       Case 1:18-cv-00966-JCH-JHR Document 68 Filed 03/19/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


PAUL H. ESPERSEN AND
PEGGY ESPERSEN,

                       Plaintiffs,

vs.                                                        No. 1:18-cv-00966-JCH-JHR

THE ZIA COMPANY; REGENTS OF THE
UNIVERSITY OF CALIFORNIA;
OWENS-ILLINOIS, INC.; CROWN CORK
AND SEAL COMPANY, INC.; HONEYWELL
INTERNATIONAL, INC.; HONEYWELL, INC.;
and METROPOLITAN LIFE INSURANCE
COMPANY,

                       Defendants.

             STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE

       THIS MATTER having come before the Court on Plaintiffs’ and Defendants Honeywell

International, Inc., Honeywell, Inc., and Metropolitan Life Insurance Company Stipulated

Motion for Dismissal Without Prejudice, the Court having considered the Motion and being

sufficiently advised in the premises, FINDS that the Motion is well taken and should be

GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiffs’ claims

and causes against Defendants Honeywell International, Inc., Honeywell, Inc., and Metropolitan

Life Insurance Company that were or could have been asserted in the above-captioned matter

shall be and hereby are DISMISSED, WITHOUT PREJUDICE, with each Party to bear its own

attorneys’ fees and costs.


                                            _________________________________
                                            HONORABLE JUDITH C. HERRERA
                                            UNITED STATES DISTRICT JUDGE
        Case 1:18-cv-00966-JCH-JHR Document 68 Filed 03/19/19 Page 2 of 3




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      Case 1:18-cv-00966-JCH-JHR Document 68 Filed 03/19/19 Page 3 of 3




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